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                                                                   1   Robert J. Feinstein (Pro Hac Vice)
                                                                       Alan J. Kornfeld (CA Bar No. 130063)
                                                                   2   Jeffrey W. Dulberg (CA Bar No. 181200)
                                                                       Elissa A. Wagner (CA Bar No. 213589)
                                                                   3   PACHULSKI STANG ZIEHL & JONES LLP
                                                                       10100 Santa Monica Blvd., 13th Floor
                                                                   4   Los Angeles, CA 90067
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                                                                   6             akornfeld@pszjlaw.com
                                                                                 jdulberg@pszjlaw.com
                                                                   7             ewagner@pszjlaw.com

                                                                   8   Counsel for the Official Committee of Unsecured Creditors

                                                                   9
                                                                                                     UNITED STATES BANKRUPTCY COURT
                                                                  10
                                                                                                     CENTRAL DISTRICT OF CALIFORNIA
                                                                  11
                                                                                                              SANTA ANA DIVISION
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                                                       In re:                                               Case No.: 8:15-bk-15311-MW
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                       FREEDOM COMMUNICATIONS, INC., a                      Chapter 11
                                                                  14   Delaware corporation, et al.,1
                                                                                                                            (Jointly Administered with Case Nos.
                                                                  15                            Debtors and                 8:15-bk-15312-MW; 8:15-bk-15313-MW;
                                                                                                Debtors-in-Possession.      8:15-bk-15315-MW; 8:15-bk-15316-MW;
                                                                  16                                                        8:15-bk-15317-MW; 8:15-bk-15318-MW;
                                                                                                                            8:15-bk-15319-MW; 8:15-bk-15320-MW;
                                                                  17                                                        8:15-bk-15321-MW; 8:15-bk-15322-MW;
                                                                                                                            8:15-bk-15323-MW; 8:15-bk-15324-MW;
                                                                  18                                                        8:15-bk-15325-MW; 8:15-bk-15326-MW;
                                                                                                                            8:15-bk-15327-MW; 8:15-bk-15328-MW;
                                                                  19                                                        8:15-bk-15329-MW; 8:15-bk-15330-MW;
                                                                                                                            8:15-bk-15332-MW; 8-15-bk-15337-MW;
                                                                  20                                                        8:15-bk-15339-MW; 8-15-bk-15340-MW;
                                                                                                                            8:15-bk-15342-MW; 8:15-bk-15343-MW)
                                                                  21

                                                                  22
                                                                       1
                                                                  23     The last four digits of the Debtors’ federal tax identification numbers are as follows: Freedom
                                                                       Communications, Inc. (0750); Freedom Communications Holdings, Inc. (2814); Freedom Services, Inc.
                                                                  24   (3125); 2100 Freedom, Inc. (7300); OCR Community Publications, Inc. (9752); Daily Press, LLC (3610);
                                                                       Freedom California Mary Publishing, Inc. (4121); Freedom California Ville Publishing Company LP (7735);
                                                                  25   Freedom Colorado Information, Inc. (7806); Freedom Interactive Newspapers, Inc. (9343); Freedom
                                                                       Interactive Newspapers of Texas, Inc. (8187); Freedom Newspaper Acquisitions, Inc. (4322); Freedom
                                                                  26   Newspapers (7766); Freedom Newspapers, Inc. (3240); Freedom Newspapers of Southwestern Arizona, Inc.
                                                                       (5797); OCR Information Marketing, Inc. (7983); Odessa American (7714); Orange County Register
                                                                  27   Communications, Inc. (7980); Victor Valley Publishing Company (6082); Victorville Publishing Company
                                                                       (7617); Freedom SPV II, LLC (8253); Freedom SPV VI, LLC (8434); Freedom SPV I, LLC (3293); Freedom
                                                                  28   SPV IV, LLC (8500); and Freedom SPV V, LLC (9036). The Debtors’ mailing address is 625 N. Grand
                                                                       Avenue, Santa Ana, California 92701.

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                                                                   1
                                                                       Affects:                                              NOTICE OF OFFICIAL COMMITTEE
                                                                   2                                                         OF UNSECURED CREDITORS’
                                                                            All Debtors                                      MOTION FOR ORDER APPROVING
                                                                   3                                                         SETTLEMENT BETWEEN THE
                                                                           Freedom Communications, Inc., a Delaware          COMMITTEE, THE PENSION BENEFIT
                                                                   4   corporation, ONLY                                     GUARANTY CORPORATION, AND THE
                                                                                                                             DEBTORS
                                                                   5       Freedom Communications Holdings, Inc., a
                                                                       Delaware corporation, ONLY                            Hearing Date and Time:
                                                                   6                                                         Date:      December 16, 2019
                                                                           Freedom Services, Inc., a Delaware                Time:      2:00 p.m.
                                                                   7   corporation, ONLY
                                                                                                                             Place:     Courtroom 6C
                                                                   8       2100 Freedom, Inc., a Delaware                               411 West Fourth Street
                                                                       corporation, ONLY                                                Santa Ana, CA 92701
                                                                   9
                                                                            OCR Community Publications, Inc., a              Judge:     Honorable Mark S. Wallace
                                                                  10   California corporation, ONLY

                                                                  11        Daily Press, LLC, a California limited
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                                                                       liability company, ONLY
                                                                  12
                                                                           Freedom California Mary Publishing, Inc.,
                                        LOS ANGELES, CALIFORNIA




                                                                  13   a California corporation, ONLY
                                           ATTORNEYS AT LAW




                                                                  14      Freedom California Ville Publishing
                                                                       Company LP, a California limited partnership,
                                                                  15   ONLY

                                                                  16       Freedom Colorado Information, Inc., a
                                                                       Delaware corporation, ONLY
                                                                  17
                                                                           Freedom Interactive Newspapers, Inc.,
                                                                  18   a California corporation, ONLY

                                                                  19        Freedom Interactive Newspapers of Texas,
                                                                       Inc., a Delaware corporation, ONLY
                                                                  20
                                                                           Freedom Newspaper Acquisitions, Inc.,
                                                                  21   a Delaware corporation, ONLY

                                                                  22        Freedom Newspapers, a Texas general
                                                                       partnership, ONLY
                                                                  23
                                                                           Freedom Newspapers, Inc., a Delaware
                                                                  24   corporation, ONLY

                                                                  25       Freedom Newspapers of Southwestern
                                                                       Arizona, Inc., a California corporation, ONLY
                                                                  26
                                                                            OCR Information Marketing, Inc., a
                                                                  27   California corporation, ONLY

                                                                  28        Odessa American, a Texas general
                                                                       partnership, ONLY
                                                                                                                       -2-
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                                                                   1        Orange County Register Communications,
                                                                       Inc., a California corporation, ONLY
                                                                   2
                                                                            Victor Valley Publishing Company, a
                                                                   3   California corporation, ONLY

                                                                   4        Victorville Publishing Company, a
                                                                       California limited partnership, ONLY
                                                                   5
                                                                            Freedom SPV II, LLC, a Delaware limited
                                                                   6   liability company, ONLY

                                                                   7        Freedom SPV VI, LLC, a Delaware limited
                                                                       liability company, ONLY
                                                                   8
                                                                            Freedom SPV I, LLC, a Delaware limited
                                                                   9   liability company, ONLY

                                                                  10        Freedom SPV IV, LLC, a Delaware limited
                                                                       liability company, ONLY
                                                                  11
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                                                                            Freedom SPV V, LLC, a Delaware limited
                                                                  12   liability company, ONLY
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




                                                                  14   TO THE HONORABLE MARK S. WALLACE, UNITED STATES BANKRUPTCY JUDGE,
                                                                       THE OFFICE OF THE UNITED STATES TRUSTEE, AND ALL PARTIES-IN-INTEREST:
                                                                  15

                                                                  16           PLEASE TAKE NOTICE that the Official Committee of Unsecured Creditors (“OCUC”)

                                                                  17   appointed in the chapter 11 cases of the above-captioned debtors and debtors in possession

                                                                  18   (collectively, the “Debtors”) has filed a motion (the “Motion”) with the Court seeking entry of an

                                                                  19   order, pursuant to section 105(a) of title 11 of the United States Code and Rule 9019(a) of the

                                                                  20   Federal Rules of Bankruptcy Procedure, approving a settlement (“Settlement Agreement”) entered

                                                                  21   into between the OCUC, the Pension Benefit Guaranty Corporation (“PBGC”) and the Debtors

                                                                  22   (collectively, the “Parties”). The Settlement Agreement is attached as Exhibit A to the Motion.2

                                                                  23           As set forth in the Motion, the Parties entered into the Settlement Agreement in connection

                                                                  24   with the claims asserted by the OCUC, on behalf of the Debtors, in the adversary proceeding captioned

                                                                  25   as Official Committee of Unsecured Creditors of Freedom Communications, Inc., et al. v. Kushner,

                                                                  26   et al., Adv. No. 8:17-ap-01012-MW (Bankr. C.D. Cal.) (the “Adversary Proceeding”), the action

                                                                  27
                                                                       2
                                                                         In the event of any discrepancies between any summary of the Settlement Agreement set forth herein and
                                                                  28   the Settlement Agreement itself, the Settlement Agreement shall control.

                                                                                                                         -3-
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                                                                   1   commenced by the PBGC in the United States District Court for the Central District of California

                                                                   2   (“District Court”) under the caption Pension Benefit Guaranty Corporation v. Spitz, et al., Case No.

                                                                   3   8:19-cv-00299-DOC-DFM (C.D. Cal.) (“District Court Action”), and the claims filed by the PBGC

                                                                   4   in the chapter 11 cases (the “PBGC Claims”). The salient terms of the Settlement Agreement are as

                                                                   5   follows:

                                                                   6               Of the $8,235,000 of settlement proceeds received or to be received on account of the

                                                                   7                claims asserted in the Adversary Proceeding and the District Court Action – of which

                                                                   8                $400,000 was received pursuant to a settlement with Larry P. Chinn and Financial

                                                                   9                Institution Consulting Corporation, and $7,835,000 is to be received pursuant to a

                                                                  10                settlement with Aaron B. Kushner and Eric J. Spitz – one-third of the proceeds

                                                                  11                ($2,745,000) shall be paid to the PBGC (the “PBGC Settlement Amount”), one-third of
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                                                                  12                the proceeds ($2,745,000) shall be paid to the Debtors’ chapter 11 estates
                                        LOS ANGELES, CALIFORNIA




                                                                  13                (collectively, the “Bankruptcy Estate”) as consideration for the legal services provided by
                                           ATTORNEYS AT LAW




                                                                  14                the OCUC’s counsel in connection with the Adversary Proceeding, and one-third of the

                                                                  15                proceeds ($2,745,000) shall be paid to the Bankruptcy Estate. Thus, the Settlement

                                                                  16                Agreement will result in a total payment of $5,490,000 to the Bankruptcy Estate.

                                                                  17               The OCUC will assign the claims asserted in the Adversary Proceeding against Richard J.

                                                                  18                Covelli (“Covelli”) and his related entities (the “Covelli Claims”) to the PBGC. The PBGC

                                                                  19                will have exclusive authority to prosecute and/or settle the Covelli Claims, and any funds

                                                                  20                recovered by the PBGC on account of the Covelli Claims (the “Covelli Recoveries”) will

                                                                  21                belong exclusively to the PBGC. As a result of this assignment, the Bankruptcy Estate will

                                                                  22                avoid incurring further litigation expense in connection with the Adversary Proceeding –

                                                                  23                the OCUC has entered into or is finalizing settlement agreements with all other defendants

                                                                  24                in the Adversary Proceeding – and the PBGC, which has the resources available to pursue

                                                                  25                the litigation against Covelli to a final judgment (if necessary), will be able to continue to

                                                                  26                seek redress for the harm suffered by the Debtors and their Pension Plan as a result of

                                                                  27                Covelli’s misconduct.

                                                                  28

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                                                                   1               All funds received pursuant to a pending settlement between the OCUC, the PBGC and

                                                                   2                Traci M. Christian and her related entity (collectively, “Christian”) will belong exclusively

                                                                   3                to the PBGC. The OCUC and the PBGC have entered into a term sheet with Christian, a

                                                                   4                copy of which is attached as Exhibit B to the Motion. As reflected in that term sheet,

                                                                   5                Christian has agreed to pay $120,000 to resolve the claims asserted against Christian in the

                                                                   6                Adversary Proceeding and the District Court Action. Once the OCUC and the PBGC have

                                                                   7                finalized and executed a formal settlement agreement with Christian, the OCUC will file a

                                                                   8                separate motion seeking the Court’s approval of that settlement.

                                                                   9               The PBGC will forego any right to receive additional distributions from the Debtors or

                                                                  10                the Bankruptcy Estate unless and until (i) all administrative and priority claims against

                                                                  11                the Debtors have been paid in full, and (ii) a distribution of $1,000,000 has been made to
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                                                                  12                the Debtors’ other general unsecured creditors. Because the PBGC is the single largest
                                        LOS ANGELES, CALIFORNIA




                                                                  13                creditor of the Debtors, with in excess of $174,000,000 of unpaid claims filed in the
                                           ATTORNEYS AT LAW




                                                                  14                chapter 11 cases, this provision of the Settlement Agreement will increase the likelihood

                                                                  15                that the Debtors’ other general unsecured creditors will receive distributions from the

                                                                  16                Bankruptcy Estate.

                                                                  17               Finally, to effectuate the terms of the Settlement Agreement and enable the PBGC to

                                                                  18                prosecute the Covelli Claims effectively and efficiently, (i) the OCUC has filed a motion,

                                                                  19                which has been noticed for a hearing in the District Court on January 6, 2020, seeking to

                                                                  20                withdraw the reference of the Adversary Proceeding and consolidate the Adversary

                                                                  21                Proceeding with the District Court Action, and (ii) the OCUC will transfer to the PBGC all

                                                                  22                litigation materials related to the Adversary Proceeding, including trial preparation

                                                                  23                materials and other work product prepared by the OCUC’s counsel in connection with the

                                                                  24                Adversary Proceeding.

                                                                  25           In sum, the Settlement Agreement provides for a total payment of $5,490,000 to the

                                                                  26   Bankruptcy Estate, compensates the Bankruptcy Estate for approximately three years of litigation

                                                                  27   expense incurred by the OCUC’s counsel in connection with the investigation and prosecution of the

                                                                  28   Adversary Proceeding, allows the Bankruptcy Estate to avoid further litigation expense in the

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                                                                   1   Adversary Proceeding, increases the likelihood that the Debtors’ general unsecured creditors will

                                                                   2   receive distributions, and provides a path for the resolution of the chapter 11 cases, while at the same

                                                                   3   time compensating the PBGC and ensuring that the PBGC can efficiently and effectively prosecute

                                                                   4   the claims against the only remaining non-settling defendants (Covelli and his related entities).

                                                                   5   Accordingly, by the Motion, the OCUC respectfully requests that the Court enter an order authorizing

                                                                   6   and approving the Settlement Agreement.

                                                                   7           PLEASE TAKE FURTHER NOTICE that the Motion is based on this Notice, the Motion

                                                                   8   and exhibits thereto, the Memorandum of Points and Authorities, and all pleadings, documents and

                                                                   9   records on file with the Court in the Debtors’ chapter 11 cases, as well as any other material that may

                                                                  10   be presented to the Court in connection with this matter.

                                                                  11           PLEASE TAKE FURTHER NOTICE that a hearing on the Motion is scheduled for
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                                                                  12   December 16, 2019 at 2:00 p.m. (prevailing Pacific time). The hearing will be held before the
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Honorable Mark S. Wallace, United States Bankruptcy Judge, at the United States Bankruptcy Court
                                           ATTORNEYS AT LAW




                                                                  14   for the Central District of California, Santa Ana Division, located at 411 West Fourth Street,

                                                                  15   Courtroom 6C, Santa Ana, California 92701.

                                                                  16           PLEASE TAKE FURTHER NOTICE that, pursuant to LBR 9013-1, any opposition or

                                                                  17   other response to the Motion must be filed with the Court and served on the following parties at least

                                                                  18   fourteen (14) days prior to the hearing date, in the form required by LBR 9013-1(f):

                                                                  19   Counsel for the OCUC
                                                                       Robert J. Feinstein
                                                                  20   Alan J. Kornfeld
                                                                       Jeffrey W. Dulberg
                                                                  21   Elissa A. Wagner
                                                                       Pachulski Stang Ziehl & Jones LLP
                                                                  22   10100 Santa Monica Blvd., 13th Floor
                                                                       Los Angeles, CA 90067-4003
                                                                  23
                                                                       Email: rfeinstein@pszjlaw.com
                                                                  24           akornfeld@pszjlaw.com
                                                                               jdulberg@pszjlaw.com
                                                                  25           ewagner@pszjlaw.com

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                                                                   1   Counsel for PBGC
                                                                       Joel W. Ruderman
                                                                   2   Carolyn Lachman
                                                                       Pension Benefit Guaranty Corporation
                                                                   3   Office of the General Counsel
                                                                       1200 K Street, NW
                                                                   4   Suite 340
                                                                   5   Washington, DC 20005-4026
                                                                       Email: ruderman.joel@pbgc.gov
                                                                   6          lachman.carolyn@pbgc.gov

                                                                   7

                                                                   8   Counsel for the Debtors
                                                                       Alan J. Friedman
                                                                   9   Shulman Bastian LLP
                                                                       100 Spectrum Center Drive
                                                                  10   Suite 600
                                                                       Irvine, CA 92618
                                                                  11   Email: afriedman@shulmanbastian.com
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13   Office of the United States Trustee
                                           ATTORNEYS AT LAW




                                                                       Frank Cadigan
                                                                  14   Nancy S. Goldenberg
                                                                       Michael J. Hauser
                                                                  15   Office of the United States Trustee
                                                                       411 W. Fourth Street
                                                                  16   Suite 7160
                                                                  17   Santa Ana, CA 92701-4593
                                                                       Email: frank.cadigan@usdoj.gov
                                                                  18          nancy.goldenberg@usdoj.gov
                                                                              michael.hauser@usdoj.gov
                                                                  19

                                                                  20   IF YOU FAIL TO FILE A WRITTEN OBJECTION TO THE MOTION WITHIN SUCH
                                                                  21   TIME PERIOD, THE COURT MAY TREAT SUCH FAILURE AS A WAIVER OF YOUR
                                                                  22   RIGHT TO OBJECT TO THE MOTION AND MAY APPROVE THE MOTION WITHOUT
                                                                  23   A HEARING.
                                                                  24

                                                                  25

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                                                                   2
                                                                       Dated: November 25, 2019                 PACHULSKI STANG ZIEHL & JONES LLP
                                                                   3

                                                                   4                                            /s/ Alan J. Kornfeld _________________________________
                                                                                                                Robert J. Feinstein
                                                                   5                                            Alan J. Kornfeld
                                                                                                                Jeffrey W. Dulberg
                                                                   6                                            Elissa A. Wagner
                                                                   7                                            Counsel for the Official Committee of Unsecured Creditors
                                                                   8

                                                                   9

                                                                  10

                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                  12
                                        LOS ANGELES, CALIFORNIA




                                                                  13
                                           ATTORNEYS AT LAW




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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                      10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): NOTICE OF OFFICIAL COMMITTEE OF
UNSECURED CREDITORS’ MOTION FOR ORDER APPROVING SETTLEMENT BETWEEN THE COMMITTEE, THE
PENSION BENEFIT GUARANTY CORPORATION, AND THE DEBTORS will be served or was served (a) on the judge
in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
November 25, 2019, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) November 25, 2019, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) November 25, 2019, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

VIA OVERNIGHT MAIL                                                       VIA EMAIL:
Honorable Mark S. Wallace                                                Carolyn Lachman – lachman.carolyn@pbgc.gov
United States Bankruptcy Court                                           Robert J. Guite – rguite@sheppardmullin.com
Central District of California                                           Michael Joyce – mjoyce@chubb.com
Ronald Reagan Federal Building and Courthouse                            Christopher A. Parady – cparady@peabodyarnold.com
411 West Fourth Street, Suite 6135 / Courtroom 6C                        Joel Ruderman – ruderman.joel@pbgc.gov
Santa Ana, CA 92701-4593                                                 William H. Forman -- wforman@scheperkim.com



                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 November 25, 2019            Nancy H. Brown                                                  /s/ Nancy H. Brown
 Date                         Printed Name                                                    Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

Kyra E Andrassy kandrassy@swelawfirm.com,                                        Yochun Katie Lee kylee@akingump.com,
lgarrett@swelawfirm.com;gcruz@swelawfirm.com;jchung@swelawfirm.com               tsouthwell@akingump.com;westdocketing@akingump.com
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James Cornell Behrens jbehrens@milbank.com,                                      nlockwood@pszjlaw.com;jokeefe@pszjlaw.com;banavim@pszjlaw.com
gbray@milbank.com;mshinderman@milbank.com;dodonnell@milbank.com;j                Aaron J Malo amalo@sheppardmullin.com,
brewster@milbank.com;JWeber@milbank.com                                          jsummers@sheppardmullin.com
Shraddha Bharatia notices@becket-lee.com                                         Robert S Marticello Rmarticello@swelawfirm.com,
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Andrew W Caine acaine@pszjlaw.com                                                Reed M Mercado rmercado@sheppardmullin.com
David Cantrell dcantrell@lc-law-llp.com                                          Harlene Miller harlene@harlenemillerlaw.com, harlenejd@gmail.com
Jeffrey D Cawdrey jcawdrey@grsm.com,                                             Raymond F Moats colcaecf@weltman.com
jmydlandevans@grsm.com;madeyemo@gordonrees.com;sdurazo@grsm.com                  Elizabeth L Musser emusser@londonfischer.com
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                                                 Main Document    Page 11 of 11

2. SERVED BY UNITED STATES MAIL:
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